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1
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8

9                       UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
10

11
      WILLIAM LOFTUS, individually                         ) Case No.
12    and on behalf of all others similarly                )
                                                           ) 2:20-cv-08876-MCS-PVC
13    situated,
                                                           )
      Plaintiff,                                           )
14
      vs.                                                  ) NOTICE OF SETTLEMENT
15
      ONE PLANET OPS, INC. d/b/a                           ) AS TO INDIVIDUAL CLAIMS
16    BUYERLINK, DOES 1 through 10,                        ) ONLY
17    inclusive, and each of them                          )
      Defendants.                                          )
18
                                                           )
19                                                         )
20         NOW COMES THE PLAINTIFF by and through their attorney to
21
     respectfully notify this Honorable Court that this case has settled individually.
22
     Plaintiff requests that this Honorable Court vacate all pending hearing dates and
23
     allow sixty (60) days with which to file dispositive documentation. This Court
24
     shall retain jurisdiction over this matter until fully resolved.
25
     Dated: October 22, 2020            Law Offices of Todd M. Friedman, P.C.
26

27                                                              By: s/ Adrian R. Bacon
28                                                                    Adrian R. Bacon



                                         Notice of Settlement
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1
                             CERTIFICATE OF SERVICE
2

3    Filed electronically on October 22, 2020, with:
4
     United States District Court CM/ECF system
5

6
     Notification sent electronically on October 22, 2020, to:

7    To the Honorable Court, all parties and their Counsel of Record
8

9
     s/Adrian R. Bacon
10    Adrian R. Bacon
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                                        Notice of Settlement
